          Case 3:11-cr-04258-H               Document 70            Filed 01/07/16          PageID.205              Page 1 of 2
A0"245B (CASDRev. 08113) Judgment in a Criminal Case for Revocations


                                    UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF CALIFORNIA
             UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL CASE
                                                                     (For Revocation of Probation or Supe!Yis~d Releas,,) ". "" ,-
                               V.                                    (For Offenses Committed On or     After
                                                                                                          November I, 1987)
                                                                                                                                  #- c:_~"
                   SERINNA ZAVALA (1)
                                                                        Case Number:        IICR42S8-H         ."

                                                                     Casey J. Donovan, Jr.
                                                                     Defendant's Attorney
REGISTRATION NO.                27518-298
D
IZl admitted guilt to violation ofallegation(s) N o . 3 .
                                                          -------------------------------------
D was found guilty in violation ofallegation(s) No.                                                   after denial of guilty.

Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number                 Nature of Violation
            3                     nvl2, Failure to abstain from the use of alcohol




     Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notifY the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notifY the court and United States attorney of any
material change in the defendant's economic circumstances.

                                                                     116/2016




                                                                     UNITED STATES DISTRICT JUDGE




                                                                                                                          llCR4258-H
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 A0'245B (CASD Rev. 08/13) Judgment in a Criminal Case for Revocations
'~~~~==~~~~~~~=================-==~==~~~
 DEFENDANT: SERINNA ZAVALA (1)  Judgment - Page 2 of 2
CASE NUMBER:               llCR4258-H

                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 5 MONTHS.




 D     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 D     The court makes the following recommendations to the Bureau of Prisons:




 D     The defendant is remanded to the custody of the United States Marshal.

 D     The defendant shall surrender to the United States Marshal for this district:
       D     at _ _ _ _ _ _ _ _ A.M.                          on
       D     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 D
       Prisons:
       D     on or before
       D     as notified by the United States Marshal.
       D     as notified by the Probation or Pretrial Services Office.

                                                       RETURN
I have executed this judgment as follows:

       Defendant delivered on   _ _ _ _ _ _ _ _ _ _ _ _ _ to _ _ _ _ _ _ _ _ _ _ _ _ _ __

at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                 UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL




                                                                                                            l1CR4258-H
